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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

United States of America.,                   §
                                             §
      Plaintiff,                             §     NO: AU:23-CV-00853-DAE
vs.                                          §
                                             §
Greg Abbott, et al.                          §
                                             §
      Defendants.                            §

                         ORDER RESETTING BENCH TRIAL
                          AND RELATED DEADLINES
          IT IS HEREBY ORDERED that the above entitled and numbered case is

reset for a Bench Trial in Courtroom 2, on the Fourth Floor of the United States
Courthouse, 501 West Fifth Street, Austin, TX, on Thursday, November 07,
2024 at 09:00 AM.
        Proposed Finding of Fact and Conclusions of Law are due Tuesday,
October 08, 2024.
Pretrial Submissions
             Pursuant to Local Rule 16(f), the Court ORDERS all parties to serve
and file the following information by the close of business Monday, October 28,
2024:
              (1) An appropriate identification of each exhibit as specified in this rule
(except those to be used for impeachment only), separately identifying those that
the party expects to offer and those that the party may offer if the need arises.
              (2) The name and, if not previously provided, the address and telephone
number of each witness (except those to be used for impeachment only),
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separately identifying those whom the party expects to present and those whom
the party may call if the need arises.
          (3) The name of those witnesses whose testimony is expected to be
presented by means of a deposition and designation by reference to page and line
of the testimony to be offered (except those to be used for impeachment only)
and, if not taken stenographically, a transcript of the pertinent portions of the
deposition testimony.
           (4) An estimate of the probable length of trial.
Objections to Pretrial Submissions
          Pursuant to Local Rule 16(g), the Court also ORDERS both parties to
serve and file the following information by close of business on Wednesday,
October 30, 2024:
          (1) A list disclosing any objections to the use under Rule 32(a) of
deposition testimony designated by the other party.
         (2) A list disclosing any objection, together with the grounds therefore,
that may be made to the admissibility of any exhibits. Objections not so disclosed,
other than objections under Federal Rules of Evidence 402 and 403 shall be
deemed waived unless excused by the court for good cause shown.
       IT IS SO ORDERED.
       DATED: Austin, Texas August 06, 2024.




                                            ______________________________
                                            DAVID ALAN EZRA
                                            SENIOR U.S. DISTRICT JUDGE
